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                                                                          5                      IN THE UNITED STATES DISTRICT COURT
                                                                          6                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER GRANTING MOTION TO
                                                                         10   This Order Relates To:                  )   WITHDRAW AS COUNSEL
                               For the Northern District of California
United States District Court




                                                                                                                      )
                                                                         11                                           )
                                                                              CERTAIN DIRECT ACTION PLAINTIFF         )
                                                                         12   ACTIONS                                 )
                                                                                                                      )
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                                                                         15                                           )
                                                                                                                      )
                                                                         16                                           )
                                                                         17
                                                                         18           Now before the Court is a motion filed by Norman T. Finkel and
                                                                         19   Richard M. Goldwasser ("Counsel") of the law firm of Schoenberg,
                                                                         20   Finkel, Newman & Rosenberg, LLC to withdraw as counsel on behalf of
                                                                         21   subpoena respondent Dr. Alan Frankel ("Dr. Frankel").          ECF No.
                                                                         22   3131.    The time to file a responsive brief passed on December 4,
                                                                         23   2014, and no opposition was filed.       Currently the motion is set for
                                                                         24   hearing on Friday, January 9, 2015, however the Court finds no
                                                                         25   hearing is necessary, and VACATES the hearing date.          Civ. L.R. 7-
                                                                         26   1(b).    For the reasons set forth below the motion is GRANTED.
                                                                         27           Counsel appeared in this litigation to represent Dr. Frankel
                                                                         28   in connection with a subpoena served on him in May.          Dr. Frankel
                                                                               Case 3:07-cv-05944-JST Document 3216 Filed 12/18/14 Page 2 of 2




                                                                          1   timely responded to the subpoena and the relevant issues were
                                                                          2   resolved by July.    Now, Counsel move to withdraw, pointing out that
                                                                          3   the purpose of their representation has been fulfilled.            Counsel
                                                                          4   sent notice of this motion to Dr. Frankel, advising him of his
                                                                          5   right to retain other counsel.      At that time, Dr. Frankel told them
                                                                          6   that he has no objection to their withdrawal and will not be
                                                                          7   retaining any other counsel.
                                                                          8        Civil Local Rule 11-5(a) prohibits counsel from withdrawing
                                                                          9   from an action until (1) the Court has issued an order permitting
                                                                         10   withdrawal, and (2) written notice has been given to the client and
                               For the Northern District of California
United States District Court




                                                                         11   to all other parties.     Where, as here, withdrawal is not
                                                                         12   accompanied by the appearance of substitute counsel or agreement of
                                                                         13   the party to appear pro se, leave to withdraw may be "subject to
                                                                         14   the condition that papers may continue to be served on counsel for
                                                                         15   forwarding purposes . . . ."      Civ. L.R. 11-5(b).
                                                                         16        The Court finds that because Dr. Frankel is not a party to
                                                                         17   this case, there is no need to condition withdrawal on continued
                                                                         18   service on Counsel.    Given that the purpose of Counsel's
                                                                         19   representation is completed, Dr. Frankel has been informed of
                                                                         20   Counsel's desire to withdraw, has no objection, and does not plan
                                                                         21   to obtain another attorney, the motion is GRANTED and the hearing
                                                                         22   is VACATED.
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                                                                         24        IT IS SO ORDERED.
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                                                                         26        Dated: December 18, 2014
                                                                                                                   UNITED STATES DISTRICT JUDGE
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